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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

 

GUYZAR LLC, §
§
Plaintiff § C.A. NO. 1:18-CV-01257 CFC
§
v. §
§ DEMAND FOR IURY TRIAL
STUBHUB, INC. §
§
Defendant. §
§
GUYZAR LLC, §
§
Plaintiff § C.A. NO. l:lS-CV-01258 CFC
§
v. §
§ DEMAND FOR JURY TRIAL
TRACFONE WIRELESS, INC. §
§
Defendant.
UPDATED SCHEDULING ORDER [PATENT CASEl
This§¥b<;ly of M)IS, the Court having conducted an initial Rule l6(b)

scheduling conference pursuant to Local Rule 16. 1 (b), and the parties having determined after
discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation, or
binding arbitration:
IT IS ORDERED that:

l. Rule 26(a)(1) Initial Disclosures. Unless otherwise agreed to by the parties, the
parties shall make their initial disclosures required by Federal Rule of Civil Procedure 26(a)(l)
within twenty one days of the entry of an Order on Defendant’s pending motion to dismiss

2. Joinder of Other Parties and Amendment of Plea@§. All motions to join other

parties, and to amend or supplement the pleadings, shall be filed on or before February 21 , 2019.

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3. Discovegg.
a. Discoveg[ Cut Off. All discovery in this case shall be initiated so that it

will be completed on or before May 7, 2020.

b. Document Production. Document production shall be completed on or
before May 7, 2020.
c. Reguests for Admission. A maximum of § requests for admission are

permitted for each side.
d. Interrogatories. A maximum of B interrogatories, including contention
interrogatories, are permitted for each side.
e. Depositions.
i. Limitation on Hours for Deposition Discoverv. Each side is
limited to a total of §§ hours of taking testimony by deposition upon oral examination
ii. Location of Depositions. Any party or representative (offlcer,
director, or managing agent) of a party filing a civil action in this district court must ordinarily be
required, upon request, to submit to a deposition at a place designated within this district.
Exceptions to this general rule may be made by order of the Court or by agreement of the parties.
A defendant who becomes a counterclaimant, cross-claimant, or third-party plaintiff shall be
considered as having filed an action in this Court for the purpose of this provision.
f. Modiflcations. Any party may later move to modify these
limitations for good cause. The parties may modify these limitations by agreement
4. Application to Court for Protective Order. Should counsel find it will be

necessary to apply to the Court for a protective order specifying terms and conditions for the

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disclosure of confidential information, counsel should confer and attempt to reach an agreement
on a proposed form of order and submit it to the Court within ten days from the date of this

Order.

Any proposed protective order must include the following paragraph:

Other Proceedings. By entering this order and limiting the

disclosure of information in this case, the Court does not intend to

preclude another court from finding that information may be

relevant and subject to disclosure in another case. Any person or

party subject to this order who becomes subject to a motion to

disclose another party's information designated as confidential

pursuant to this order shall promptly notify that party of the motion

so that the party may have an opportunity to appear and be heard

on whether that information should be disclosed

5. Disputes Relating to Discovery Matters and Protective Orders. Should counsel

find they are unable to resolve a dispute relating to a discovery matter or protective order, the
parties shall contact the Court’s Case Manager to schedule an in-person conference/argument
Unless otherwise ordered, by no later than 48 hours prior to the conference/argument, the party
seeking relief shall file with the Court a letter, not to exceed three pages, outlining the issues in
dispute and the party’s position on those issues. The party shall submit as attachments to its letter
(l) an averment of counsel that the parties made a reasonable effort to resolve the dispute and
that such effort included oral communication that involved Delaware counsel for the parties, and
(2) a draft order for the Court’s signature Which identifies with specificity the relief sought by
the party. By no later than 24 hours prior to the conference/argument, any party opposing the
application for relief may file a letter, not to exceed three pages, outlining that party's reasons for
its opposition Should any document(s) be filed under seal, a courtesy copy of the sealed

document(s) must be provided to the Court within one hour of e-filing the document(s). If a

motion concerning a discovery matter or protective order is filed without leave of the Court, it
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will be denied without prejudice to the moving party's right to bring the dispute to the Court
through the procedures set forth in this paragraph

6. Papers Filed Under Seal. When filing papers under seal, counsel shall deliver to
the Clerk an original and one copy of the papers. A redacted version of any sealed document

shall be filed electronically within seven days of the filing of the sealed document.

7. Courtesy Copies. The parties shall provide to the Court two courtesy copies of all
briefs and one courtesy copy of any other document filed in support of any briefs (i.e.,
appendices, exhibits, declarations, affidavits etc.), This provision also applies to papers filed
under seal.

8. Claim Construction Issue Identification. On or before December 5, 2019, the
parties shall exchange a list of those claim term(s)/phrase(s) that they believe need construction
and their proposed claim construction of those term(s)/phrase(s). This document will not be filed
with the Court. Subsequent to exchanging that list, the parties will meet and confer to prepare a
Joint Claim Construction Chart to be filed no later than December 12, 2019. The Joint Claim
Construction Chart, in Word forrnat, shall be e-mailed simultaneously with filing to

cfc civil@dcd.uscourts.gov . The text for the Joint Claim Construction Chart shall be l4-point

 

and in a Times New Roman or similar typeface. The parties' Joint Claim Construction Chart
should identify for the Court the term(s)/phrase(s) of the claim(s) in issue and should include
each party's proposed construction of the disputed claim language With citation(s) only to the
intrinsic evidence in support of their respective proposed constructions A copy of the patent(s)
in issue as well as those portions of the intrinsic record relied upon shall be submitted with this
Joint Claim Construction Chart, In this joint submission, the parties shall not provide argument

9. Claim Construction Brieang. The Plaintiff shall serve, but not file, its opening
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brief, not to exceed 5,500 words, on January 2, 2020. The Defendant shall serve, but not file, its
answering brief, not to exceed 8,250 words, on January 23, 2020. The Plaintiff shall serve, but
not file, its reply brief, not to exceed 5,500 words, on January 30, 2020. The Defendant shall

serve, but not file, its sur-reply brief, not to exceed 2,750 words, on February 6, 2020. The
text for each brief shall be 14-point and in a Times New Roman or similar typeface. Each brief

must include a certification by counsel that the brief complies with the type and number
limitations set forth above. The person who prepares the certification may rely on the word
count of the word-processing system used to prepare the brief,

No later than February 13, 2020, the parties shall file a Joint Claim Construction Brief.
The parties shall copy and paste their untitled briefs into one brief, with their positions on each
claim term in sequential order, in substantially the form below.

JOINT CLAIM CONSTRUCTION BRIEF

I. Agreed-upon Constructions

II. Disputed Constructions

A. [TERM 1]
l. Plaintiff‘s Opening Position
2. Defendant's Answering Position
3. Plaintiff s Reply Position
4. Defendant's Sur-Reply Position

B. [TERM 2]

Plaintiff s Opening Position
Defendant's Answering Position
Plaintiffs Reply Position
Defendant's Sur-Reply Position

:‘*‘§*’!"!"

Etc. The parties need not include any general summaries of the law relating to claim

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construction If there are any materials that would be submitted in an appendix, the parties shall
submit them in a Joint Appendix.
lO. Hearing on Claim Construction. Beginning at 9:30 a.m. on February 20, 2020,
the Court Will hear argument on claim construction Absent prior approval of the Court (Which, if
it is sought, must be done so by joint letter submission no later than the date on which answering
claim construction briefs are due to be served), the parties shall not present testimony at the

argument, and the argument shall not exceed a total of three hours.

ll. Disclosure of Expert Testimony.

a. Expert Report. For the party who has the initial burden of proof on the
subject matter, the initial Federal Rules 26(a)(2) disclosure of expert testimony is due on or before
June 11, 2020. The supplemental disclosure to contradict or rebut evidence on the same matter
identified by another party is due on or before July 2, 2020. Reply expert reports from the party
with the initial burden of proof are due on or before July 23, 2020. No other expert reports will be
permitted without either the consent of all parties or leave of the Court. Along with the
submissions of the expert reports, the parties shall advise of the dates and times of their experts‘
availability for deposition Depositions of experts shall be completed on or before August 20,
2020.

b. Obiections to Expert Testimonv. To the extent any objection to expert

testimony is made pursuant to the principles announced in Daubert v. Merrell Dow Pharm.,
lnc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be made by
motion no later than the deadline for dispositive motions set forth herein, unless otherwise

ordered by the Court.

12. Case Dispositive Motions.

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a. No early motions without leave. All case dispositive motions, an opening
brief, and affidavits, if any, in support of the motion shall be served and filed on or before
September 24, 2020. No case dispositive motion under Rule 56 may be filed more than ten days
before the above date without leave of the Court.

b. Word limits combined with Daubert motion word limits. Each party is
permitted to file as many case dispositive motions as desired; provided, however, that each SIDE
will be limited to a combined total of 10,000 words for all opening briefs, a combined total of
10,000 words for all answering briefs, and a combined total of 5,000 words for all reply briefs
regardless of the number of case dispositive motions that are filed. In the event that a party files,
in addition to a case dispositive motion, a Daubert motion to exclude or preclude all or any
portion of an expert’s testimony, the total amount of words permitted for all case dispositive and
Daubert motions shall be increased to 12,500 words for all opening briefs, 12,500 words for all
answering briefs, and 6,250 words for all reply briefs for each SIDE. The text for each brief shall
be 14-point and in a Times New Roman or similar typeface. Each brief must include a
certification by counsel that the brief complies with the type and number limitations set forth
above. The person who prepares the certification may rely on the word count of the word-
processing system used to prepare the brief.

13. Applications by Motion. Except as otherwise specified herein, any application to
the Court shall be by written motion Any non-dispositive motion should contain the statement
required by Local Rule 7.1.1.

l4. Pretrial Conference. On January 21, 2021 , the Court will hold a Rule

16(e) final pretrial conference in Court with counsel beginning at 9:30 a.m. The parties shall

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file a joint proposed final pretrial order in compliance with Local Rule l6.3(c) no later than 5:00
p.m. on the third business day before the date of the final pretrial conference Unless otherwise
ordered by the Court, the parties shall comply with the timeframes set forth in Local Rule l6.3(d)
for the preparation of the proposed joint final pretrial order.

15 . Motions in Limine. Motions in limine shall not be separately filed. All in limine
requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall
be limited to three in limine requests, unless otherwise permitted by the Court. The in limine
request and any response shall contain the authorities relied upon; each in limine request may be
supported by a maximum of three pages of argument and may be opposed by a maximum of
three pages of argument, and the party making the in limine request may add a maximum of one
additional page in reply in support of its request If more than one party is supporting or
opposing an in limine request, such support or opposition shall be combined in.a single three-
page submission (and, if the moving party, a single one-page reply). No separate briefing shall be
submitted on in limine requests, unless otherwise permitted by the Court.

16. Compendium of Cases. A party may submit with any briefing two courtesy
copies of a compendium of the selected authorities on which the party would like the Court to
focus. The parties should not include in the compendium authorities for general principles or
uncontested points of law (e.g., the standards for summary judgment or claim construction). An
authority that is cited only once by a party generally should not be included in the compendium
An authority already provided to the Court by another party should not be included in the
compendium.

17. Jurv Instructions. Voir Dire and Snecial Verdict Forms. Where a case is to be

tried to a jury, pursuant to Local Rules 47.l(a)(2) and 51.1, the parties should file (i) proposed
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voir dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict
forms no later than 5:00 p.m, on the third business day before the date of the final pretrial
conference The parties shall submit simultaneously with filing each of the foregoing four

documents in Word format to cfc_civil@ded.uscourts.gov.

18. Trial. ramn,epe.em…chedm=d

 

Mhe trial for Guyzar v. T racF one Wireless, lnc., l:lS-cv-01258 (D. Del.), is
scheduled for a 5-day jury trial beginning at 9:30 arn on February 22, 2021, with the subsequent
trial days beginning at 9:30 a.m. Until the case is submitted to the jury for deliberations, the jury

will be excused each day at 4:30 p.m. The trial will be timed, as counsel will be allocated a total

number of hours in which to present their respective cases. 71" +r"l fv;d
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19. ADR Process. This matter is referred to a magistrate judge to explore the

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UNITED STATES DISTRICTYG'E

possibility of alternative dispute resolution

